Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 1 of 7   PageID #:
                                     14
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 2 of 7   PageID #:
                                     15
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 3 of 7   PageID #:
                                     16
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 4 of 7   PageID #:
                                     17
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 5 of 7   PageID #:
                                     18
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 6 of 7   PageID #:
                                     19
Case 2:04-cr-00079-JRG   Document 217 Filed 10/03/05   Page 7 of 7   PageID #:
                                     20
